    2:15-cv-00134-RMG          Date Filed 12/05/18   Entry Number 95   Page 1 of 42




                    South Carolina Department of Social Services
     Child Welfare Workforce Assessment, Findings, and Recommendations




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     2:15-cv-00134-RMG           Date Filed 12/05/18        Entry Number 95         Page 2 of 42




                                     Consultant’s Biography


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Sue Steib has over forty-five years of child welfare experience including direct practice, agency
administration, research, and consultation. Prior to becoming an independent consultant in 2016, she
was Senior Director of Strategic Consulting at Casey Family Programs (CFP), a foundation dedicated to
helping child welfare systems across the United States improve their practice and outcomes. During her
eight years at CFP, she led the organization’s work in Louisiana and Oklahoma, joining with child welfare
leaders there in their efforts to reduce the need for out-of-home care for children. Additionally, she
served as part of a consulting team providing support to child welfare systems in fifteen states. From
2001 to 2008, Steib was director of the Research to Practice initiative at the Child Welfare League of
America (CWLA) in Washington, DC, leading work to synthesize current research in child welfare and
related fields and make it accessible to agency leaders and practitioners across the nation through
papers, workshops, and direct consultation. Steib came to CWLA after a thirty-one year career in
Louisiana’s child welfare system, where she served in positions ranging from caseworker and casework
supervisor to administrator, leaving as the statewide child welfare program director.
Particular areas of interest and expertise include the child welfare workforce, agency administration and
leadership, evidence-based practice, and using data to assess performance and guide quality
improvement. Most recently Steib played a major role in assessments of the child welfare systems in
Philadelphia, Iowa, and Indiana.
     2:15-cv-00134-RMG        Date Filed 12/05/18    Entry Number 95   Page 3 of 42




                                      Table of Contents



I. Introduction and Purpose                                                      1


II. The Assessment                                                               1


III. A Brief Summary of Child Welfare Workforce Research                         2


IV. Findings                                                                     6


V. Recommendations                                                               16


VI. Implementation                                                               22


VII. References                                                                  23


Appendices
A. List of Documents Reviewed                                                    25
B. Interview Questions                                                           26
C. Resources                                                                     34
D. Comparison States                                                             35
     2:15-cv-00134-RMG        Date Filed 12/05/18      Entry Number 95       Page 4 of 42




I. Introduction and Purpose
This document reports the findings and recommendations resulting from a workforce
assessment conducted during July through September of 2018. The assessment was conducted
pursuant to a request by the Co-Monitors in the Michelle H. v. McMaster settlement agreement
which was finalized in October 2016. That agreement pertained to the care and treatment of
children in the custody of the S. Carolina Department of Social Services (SCDSS) and included,
among other provisions, the establishment of caseload standards for case managers and
supervisors overseeing services to children in out of home care and periodic benchmarks for
reaching those standards in each of the out of home care programs of foster care, adoption,
Out-of-Home Abuse and Neglect (OHAN) investigators, and Intensive Foster Care Services, a
program designation for children with behavioral or developmental diagnoses.
During the time since entry into the settlement agreement, SCDSS has been unable to reach
agreed upon caseload standards. Although additional staff positions have been allocated,
turnover is such that hiring efforts have, at best, struggled to keep up with vacancies as they
occur in the existing allocation. This fact led the Co-Monitors to recommend that an
assessment of conditions affecting the frontline workforce be conducted and recommendations
made to guide SCDSS in developing and executing a plan to stabilize the workforce and reach
and maintain established caseload levels.

II. The Assessment
Although the provisions of the Michelle H. settlement pertain only to services provided to
children in the custody of SCDSS, this assessment addresses the child welfare workforce as a
whole. When viewed from the perspective of the children and families who are the subjects of
the agency’s intervention, it is not possible to separate the continuum of services into truly
discrete programs. The quality and timeliness of work in the assessment of child protection
referrals and in family preservation has an unavoidable effect on both the number and
complexity of cases that arrive in the custody programs and the reverse is true as well in the
case of families that are followed after children are returned home from foster care or who
experience a re-referral to the system. Further, the “front end” programs that serve families
before children enter out of home care represent the best opportunity in child welfare to
prevent trauma and the additional negative outcomes associated with repeat maltreatment
and separation of families. Lastly, child welfare personnel who remain in their jobs for more
than a short time very often move from one part of the continuum to another making issues
like qualifications, training, agency culture and climate, and compensation relevant across the
entire workforce.
The findings of this assessment are based on the review of multiple documents, interviews with
SDCSS services staff at the direct practice, management, and administrative levels as well as
with training personnel in the University of South Carolina (USC) Center for Child and Family


                                               1
     2:15-cv-00134-RMG         Date Filed 12/05/18      Entry Number 95       Page 5 of 42




Studies, child welfare leaders and human resources directors in several other states, and review
of the findings of child welfare workforce research.
Documents reviewed include the Michelle H. complaint, settlement agreement, and reports,
SCDSS policies, job descriptions, staffing reports, human resources policy related to pay raises
and performance evaluation, and salary scales. A listing of these documents may be found in
Appendix A.
Interviews were conducted with a total of 57 SCDSS personnel in 33 sessions and with three
USC employees who provide training to SCDSS staff. All interview subjects were informed that
their participation was voluntary and that their names would not be connected with any
information they provided. Interviews were structured with some variations in questions based
on the position of the subject(s). Questions were added spontaneously when needed to probe
additional issues of relevance to workforce recruitment, hiring, retention, and performance
that were raised in interviewees’ responses and comments. The standard questions asked of
each position are contained in Appendix B. All interviews were conducted by the workforce
consultant who took detailed notes of responses. In most, but not all, telephone interviews a
representative of the Co-Monitors was introduced to the participants, listened, and also took
notes but did not ask questions. In-person interviews were done only with personnel in the
SCDSS central office and were conducted by the consultant alone. Data were analyzed through
the identification of common themes relating to workload, hiring and selection, turnover, staff
development, performance assessment, and the workplace environment.

III. A Brief Summary of Child Welfare Workforce Research
The findings and recommendations of this assessment and report are best understood in light
of what is currently known about factors that are linked to recruitment, retention, and
performance of front line child welfare personnel.

Recruitment, Selection, and Hiring
Developing a competent and stable child welfare workforce begins with attracting and hiring
the right people. However, as agencies experience higher numbers of vacancies and rates of
turnover, they may react by reducing staff qualifications and/or abbreviating interviewing and
selection processes. Unfortunately, these measures, while they may enable the filling of
vacancies more quickly, typically drive up turnover further since they tend to bring in people
who may be desperate for immediate employment but who lack the basic competencies for or
commitment to the work.

Workforce research has identified features of individuals who are best suited for careers in
child welfare. Entry level competencies include personal traits such as self-efficacy, caring or
empathy in response to the needs of others, adaptability, and strong skills in organization and
planning, verbal and written communication, interpersonal relations, observation and analytical
thinking.3 A listing of these evidence-informed competencies along with behavioral
characteristics to assess them has been developed based on work done at the National Child

                                                2
     2:15-cv-00134-RMG         Date Filed 12/05/18      Entry Number 95        Page 6 of 42




Welfare Training Institute at the University of Southern Maine and the Jordan Institute for
Families at the University of North Carolina and is incorporated in the Staying Power toolkit that
is available online (see Appendix C). This toolkit also includes interview and assessment
protocols designed for evaluating the aptitude and skills of child welfare job candidates.

Realistic job previews in the form of videos that depict caseworkers performing and discussing
various aspects of their jobs are now commonly used and have been linked in some research
with a reduction in turnover.8 These videos are typically made available on the agency or
personnel system website so that prospective job applicants can view them before even
completing an application. The U.S. Children’s Bureau has collected these videos and makes
them available on the Internet via the Child Welfare Information Gateway (See Appendix C, 6.).
Additional strategies for recruitment such as aggressive outreach to university social work
programs and agency-university partnerships supported with federal Title IV-E funding have
shown particular promise. Such partnership programs usually provide students with stipends in
exchange for a commitment to work for the agency for a specified period of time (e.g., two
years) and have demonstrated great potential to reduce turnover and improve performance.2

There is substantial evidence in child welfare workforce research extending back over more
than thirty years that indicates that graduation from an accredited social work program is the
best educational preparation for work in child welfare.5, 10, 26 A national review of training
competencies established by state agencies found little variation in the knowledge and skills
expected of case managers. These included an understanding of theories of crisis intervention,
human behavior, child development, family systems, attachment and bonding; the impact of
grief, separation, and loss; knowledge of ethics and skills in interviewing. Such knowledge is not
intuitive and can be reasonably acquired through agency pre-service training at only a cursory
level. The same national review found that, with few exceptions, state training programs
allotted little or no time for practice and developing the skills needed to work effectively with
families.

Unfortunately, there are only a few states or counties that now require formal social work
education. The past four decades have seen a pattern of increasing the responsibility
statutorily assigned to public child welfare systems with little commensurate focus on the
adequacy of the workforce. Many observers have suggested that this is in part because
recipients of child welfare services are perceived by policy makers as being a small minority of
the population and primarily those who are deeply impoverished and otherwise marginalized
by special developmental or mental health needs. More recently, however, the analysis of
large data sets accumulated nationally over time has found that, during the course of their
childhoods, more than one-third of American children may be subjects of at least one child
protection investigation. For African American children, the proportion rises to about one
half.14 This finding casts child maltreatment as a major public health concern. It also points to
the enormous responsibility placed on child welfare agencies and the critical importance of
having personnel with the clinical knowledgeable, skill, time, and support necessary to
intervene effectively to prevent the needs of these children and their families from escalating
to levels that require more intensive and costly intervention.

                                                 3
     2:15-cv-00134-RMG          Date Filed 12/05/18      Entry Number 95         Page 7 of 42




Finally, there is evidence that better alignment of starting salaries with those of other types of
work having similar requirements and demands is important. Although salary is discussed in
this report primarily in relation to turnover, it can also be a factor in recruitment. Nationally,
overall, child welfare workers make about $9,000 per year less than personnel in jobs that
require similar preparation, but have equal or greater complexity and demands making it
difficult for child welfare agencies to compete in a market that offers other opportunities for
the same candidates.22 A national child welfare workforce survey found that starting salaries
that are not commensurate with the demands of the work or comparable to those in other jobs
with equal or lesser qualifications and work were the top two problems in staff recruitment.1

Historical Perspective on Turnover
It is important to note that public child welfare in the United States has not always been
plagued with the level of difficulty it now experiences in attracting and retaining qualified staff.
There was a time, albeit now in the distant past, in which child welfare was a very attractive
and competitively sought work setting for academically prepared social workers.7 It was not
until the passage of the federal Child Abuse Prevention and Treatment Act in 1974, and the
subsequent enactment of more expansive reporting laws in the states, that child welfare
agencies, which had traditionally sought graduate level social workers, began to reduce
qualifications for their positions in order to hire staff in sufficient numbers to respond to what
became an unanticipated avalanche of child maltreatment reports. Costin, Karger, and Stoesz
(1996) wrote that this development, typically termed the “de-professionalization” of child
welfare resulted in
“…the assumption of the interchangeability of baccalaureate degrees, the reorganization of
jobs to reduce educational requirements, the substitution of experience for education, and the
non-recognition of the exclusivity of bachelor’s and master’s degrees in social work.” (p. 158) 6
Such is principally the picture of public child welfare staffing in the United States today as are
the persistent concerns with workforce sufficiency, stability, and performance.15, 21

Factors Associated with Turnover
Workforce research extending back over the past thirty years has identified a constellation of
factors associated with turnover and, conversely, with retention. They include: 12
     Lack of competent, supportive supervision;
     Pay that is not commensurate with the demands of the job and not competitive with
        other work settings requiring the same or lesser levels of education and/or involving
        similar demands and complexity;
     Long or inconsistent hours and unpaid overtime;
     Stress and fear (related to personal safety, liability, and legal ramifications);
     Inability to achieve an acceptable work/life balance;
     Lack of opportunities for advancement;
     Extensive paperwork and other burdensome administrative requirements that reduce
        the time available to spend with children and families;
     Conflicts with and/or demeaning treatment by the court and legal professionals;
     Lack of autonomy/discretionary authority;


                                                 4
     2:15-cv-00134-RMG          Date Filed 12/05/18      Entry Number 95        Page 8 of 42




     Low public regard;
     Unreasonably high workloads; and
     Rigid and unsupportive organizations
Those cited most frequently and most reflective of the findings of this assessment in SCDSS are
discussed further below.

Supervision
No single factor is as consistently associated with turnover and retention as supervision.13, 22
Studies point to the importance of both competent and supportive supervision as a critical
element in retention. In order to fulfill their important role in the child welfare organization,
supervisors need advanced knowledge and skills in both practice and management.
Unfortunately, many child welfare agencies, SCDSS among them, report having higher than
recommended supervisor to caseworker ratios and the absence of professional development
structures designed to prepare and support supervisors.

Workload
Although findings regarding the role of workload in turnover are mixed, there is little question
that unreasonably high workload demands compromise outcomes for children and families
when they mean that caseworkers are unable to promptly and thoroughly perform critical
functions.22 One measure undertaken to control workloads is “over hiring” which means over-
filling jobs in relation to anticipated vacancies in order to create a pool of personnel who are
trained and ready to begin work. Some agencies have also adopted casework teaming which
allows for more than one member of the supervisory unit to be involved with a family and thus
able to continue to provide support if a team member leaves.4

Compensation and Benefits
The lack of alignment of the demands of child welfare work with the compensation provided is
now well recognized as a contributor to turnover. At least two national studies have cited the
lack of competitive pay as a key factor in hiring and maintaining child welfare staff.1, 26

Although having a social work degree has typically been associated with lowered incidence of
turnover, differences in pay between child welfare and other social work settings may
contribute to loss of BSWs and MSWs. A study that examined reasons why graduates of a
Bachelor of Social Work agency-university partnership program left after four years found that
transfer to more lucrative work was among the top five reasons.2 Research exploring retention
of MSW graduates also found that compensation was a prominent reason for leaving or
planning to leave child welfare.18

Organizational Culture and Climate
Organizational culture refers to the norms governing work and behavior within an organization,
while climate describes the impact of the work environment on worker’s well-being. Climate, in
particular, has been associated in research with turnover.11, 20 Opportunity for advancement is
one aspect of climate that may be especially important. A recent secondary analysis of a large
data set on turnover in one public child welfare agency showed particular links between


                                                 5
     2:15-cv-00134-RMG         Date Filed 12/05/18      Entry Number 95        Page 9 of 42




turnover and both opportunities for advancement and the degree to which employees felt that
their expertise was rewarded by the organization.20

Other research has found that agencies do not benefit from reducing turnover in terms of
outcomes for children absent a proficient organizational culture. Such a culture is described as
one that consistently promotes knowledge and skill development in personnel and is oriented
toward the attainment of positive outcomes rather than process compliance.27

The Significance of Turnover
Staff turnover in child welfare agencies is costly, both fiscally and in terms of outcomes for
children and families. It is estimated that agencies lose an investment of about one third of a
caseworker’s annual salary when that employee leaves.5
Most significantly, studies have shown that turnover is negatively related to child permanency
and safety. A Wisconsin study found that 74.5% of children who experienced only one
caseworker attained permanent placement in families outside of foster care. However, with a
single change of caseworker, that number fell dramatically, to 17.5%; only 5.2% of children who
experienced two changes of caseworkers achieved permanency.9 Likewise, research conducted
in Colorado found that a single change of caseworker during the year long period of the study
diminished the odds of a child’s attaining permanency during that time by 56% .19
In other research, a study of twelve counties in California defined as having high (23% per year),
moderate (13%), and low (8%) staff turnover found that low turnover was associated with
lower maltreatment recurrence, more approved case plans, and more current child health
services.17

Analysis of data gathered in the initial federal Child and Family Services Reviews indicated that
turnover was linked with agencies’ failure to meet performance standards. Specific areas of
deficiency cited in the findings included (1) adherence to response time in child protection
investigations; (2) timely closure of investigations (an important factor in workload and in
families’ need for resolution); (3) frequency of caseworker contact; (4) maltreatment
recurrence; and (5) timely attainment of permanency for children in out of home care. 25
Finally, turnover is demoralizing to staff and may build on itself. Vacant positions when
caseworkers leave create additional workload and other hardships for remaining staff, thus
increasing the likelihood that they will also leave the agency.26

IV. Findings
Analysis of the information gathered in this assessment points to both strengths and challenges
related to the workforce in SCDSS:
     Strengths
         SCDSS staff who participated in this assessment demonstrated strong commitment
             to the work they do and to improving services to children and families.



                                                6
2:15-cv-00134-RMG         Date Filed 12/05/18      Entry Number 95        Page 10 of 42




      County and state leaders and managers consistently cited the commitment of their
       respective staffs as a strength.
   Some actions already taken by DSS, such as the creation of training positions in the
       state office and plans to initiate partnerships with university schools of social work,
       demonstrate recognition of critical needs within the agency and actions already
       either conceived or undertaken to meet them.
   Despite changes in leadership and significant resource limitations, DSS has
       developed a core of professional middle managers, regional leaders, and county
       directors who are well attuned to the agency’s workforce needs.
Challenges
   The level of pay and advancement opportunities are clearly inadequate to attract
       and retain highly qualified, high performing front line staff.
   There is no formalized relationship with state university schools of social work to
       promote recruitment of new graduates or continuing education for employees in
       the area of study most closely aligned with child welfare practice.
   Nothing in the agency’s pay and classification structure encourages the hiring of
       professional social workers or incentivizes staff to obtain graduate social work
       education or remain at the front lines of practice as they grow in knowledge and
       experience.
   There is a lack of infrastructure for the ongoing professional development of child
       welfare staff at all levels.
   Workloads are uneven and unreasonably high in some counties and/or units.
   Many supervisors are themselves carrying caseloads and/or supervise more than
       five caseworkers, the standard recommended by the Child Welfare League of
       America and set by the agency itself for the majority of its child welfare programs.
   There is not yet a clearly understood and uniformly embraced model of practice or
       resources to support the consistent application of key practices currently endorsed
       by the agency. As an example, supports for family team meetings, a critical
       component of practice, are unevenly distributed and notably lacking in some
       counties.
   There is lack of infrastructure for the timely development and distribution of
       agency policy.
   The lack of local resources for placement of children in out of home care results in
       case managers assigned to serve these children and their families spending an
       extraordinary amount of time driving and transporting children for family visits and
       other activities, thus limiting the time they have available for actual casework with
       both children and their parents or other permanency resource.




                                            7
    2:15-cv-00134-RMG         Date Filed 12/05/18     Entry Number 95        Page 11 of 42




Caseloads and Workloads
Caseloads are varied, with some counties and/or programs reporting caseloads in out of home
care that are within the limits established in the SCDSS workload plan while others are well in
excess of those standards, and in some instances more than two times as many children and/or
families.
The amount of travel required by caseworkers handling foster care cases was a consistent
theme in interviews conducted in this assessment. Workloads for case managers in out of
home care are said to be exacerbated both by high travel demands and the lack of support
staff. Because of a shortage of placement resources, children are often placed with foster
families in other counties, sometimes far across the state. Some portion of transportation as
well as other routine administrative duties could be handled by well-trained support staff but
counties consistently report that they either lack any such positions or do not have them in
sufficient numbers. It was learned that about 80 caseworker assistant positions exist around
the state and that stipends for foster parents are intended to include compensation for
transportation. However, interview data strongly suggest that these resources are not
sufficient to meet the need.

SCDSS contracts with external transportation providers and they are reported to be heavily
used. Such providers can be a valuable and appropriate resource for adult clients in various DSS
programs. Their use for children in out of home care, however, raises serious questions about
safety, the provision of emotional support in stressful situations such as trips to court, family
visits, or medical and mental health appointments, and continuity of care when a trip for a child
may involve the need to communicate important information to or from a service provider.
When caseworkers are inexperienced and lack sufficient expert supervision, as appears to often
be the case in SCDSS, the potential for such a resource to be misused in services to children is
great.

SCDSS has projected that it needs 670 additional case managers to meet the caseload standards
for foster care, adoption, OHAN, and IFCCS. No target figures have been provided for
assessment and family preservation although these are among the highest caseloads in the
agency. One middle manager commented that limits on assessment caseloads are “not even
discussed”. Although the non-custody programs are not included in the Michelle H. plan, they
are critical parts of the child welfare workforce continuum and performance in them directly
affects outcomes in out of home care. A recent DSS analysis found that, of caseloads that
included 40 or more children, 78 percent were in the family preservation program. If, as in
most systems, these cases are largely voluntary, this finding raises questions about the criteria
used to accept and keep cases open and the degree to which supervisors and managers are
trained and empowered to manage workloads. Further, counties consistently report that
intakes have increased since implementation of the regional centralized intake units (or
“HUBs”), earlier this year. SCDSS reportedly screens in for assessment 70% of reports
compared to a national average screen-in rate of 58%.24




                                                8
    2:15-cv-00134-RMG          Date Filed 12/05/18      Entry Number 95       Page 12 of 42




In the custody programs, separate case managers are assigned to adoption, Out of Home Abuse
and Neglect (OHAN), and Intensive Foster Care and Clinical Services (IFCCS). Specialized
assignment for OHAN investigations is reasonable and, while these are handled by local child
protection personnel in some systems, may even be considered necessary given that such
investigations should be completed by staff not otherwise involved in the case. This
consultant’s primary concern regarding OHAN relates to its current staff shortage and its
centralization in the state’s capital, making it more difficult for staff to respond promptly to
reports from around the state. The goal is eight assessments per case manager per month, but
the actual caseload is reported to be as high as 30 to 35. In addition, one of the two
supervisory positions is vacant and the individual in the other is out on extended medical leave
following an automobile accident. The centralization of these staff in Columbia creates a need
for more travel and difficulty in meeting 24 hour response times. It is, however, understood
that efforts are underway to regionalize these staff. Five new positions have been created for
the OHAN unit and these new hires will be placed in the regions.

The need for the assignment of specialized caseworkers for the adoptions and IFCCS functions
is more questionable. Regarding adoptions, it is understood that policy provides that the foster
care case manager retains case responsibility with adoption staff assuming only the functions
that are specifically adoption related or, perhaps in some counties, taking over as the primary
case manager just at the point of the adoption. Thus for much, if not all, of the time an
adoption case manager carries a case, another case manager is also assigned. If, as in most
systems, the majority of children are adopted by their foster care givers, thus eliminating
functions related to identification of an adoptive placement, it seems that adoption support
activities, if separated at all, might be handled by staff having larger caseloads than the 17
approved in establishing the caseload standards. Even when adoption planning calls for placing
a child with a new family, this can be done by the foster care caseworker given reasonable
workloads and appropriate skills and supervision.

While the designation of separate adoption staff became common in child welfare systems in
the U.S. in the 1980s, a number of child welfare professionals are now questioning whether
separation of this function is needed or even advised since, depending upon the way in which
the adoption role is fashioned, assignment of an additional or different caseworker can disrupt
continuity for the child and family. In the case of S. Carolina, this consultant questions whether
having an additional case manager, with a caseload of 17 children, is the best use of the agency
staff resources given the acute shortages currently existing elsewhere in the continuum of
services.

IFCCS staff are assigned to children who have been determined to have higher behavioral
health and/or developmental needs causing them to require specialized placement and more
intensive case management. These case managers are to see children at least twice per month,
rather than once, as is the requirement for other children and are presumed to have advanced
skills that allow them to provide clinical assessment and services. They may also be assigned to
children’s families but typically are not unless all children in the family receive IFCCS. At least
two issues of concern are identified related to this program designation: First, this consultant

                                                 9
    2:15-cv-00134-RMG           Date Filed 12/05/18       Entry Number 95        Page 13 of 42




found no evidence that IFCCS staff do, for the most part, possess any higher level of training
and/or demonstrated skills than other case managers in addressing the clinical needs of
children with identified behavioral or development challenges. Secondly, assignment of the
caseworker based solely on the needs of the child detracts from an emphasis on a family-
centered approach which is most conducive to timely permanency planning. While diligent
oversight of all children in out of home care is a critical and essential function, it is the needs of
the parents that must be addressed aggressively and expeditiously if the issues that called for
out of home placement are to be resolved and the child either returned home or moved to
another safe permanent family outside of the foster care system. All staff overseeing the
placements of children in out of home care should have the ability (and the directive) to plan
frequency of visits based on the child’s individual needs whether those are related to children’s
behavior and development, current events or circumstances, needs in the foster family, or the
progress of the permanent plan.

Caseworkers in smaller counties are often assigned mixed caseloads. In some of those,
combined caseloads were very high even if assignments were within caps for some or all of the
individual programs. In one such county, for example, a caseworker reported having a current
caseload consisting of one foster child, five assessments, 24 family preservation (families), and
three adult protective services. Her co-worker gave a count of five foster children, 14 family
preservation (families), seven assessments, and one adult protection. Combined caseloads are
necessary in many if not most systems when the volume of cases of one type do not constitute
a full caseload in smaller counties. In the case of child welfare assignments, this is not of
particular concern beyond the need to ensure reasonable workloads. One might even argue
that, from the perspective of families and children, having one caseworker assigned to the full
continuum of services is preferable since it avoids caseworker transitions that are agency-
driven as families move from one part of the service continuum to another. However,
assignments outside of child welfare, such as in adult protective services, call for case managers
to be conversant with an entirely different set of policies, laws, and practice techniques and
thus carry the possibility—indeed, the probability—of diluting their focus on learning and
practicing those skills and decision making criteria that are unique to child welfare. Adult and
child protection may seem like similar functions but they are in fact vastly different and, in
some states, are handled by entirely separate agencies.

Compensation
Overall, the compensation and work classification system at SCDSS presents as one constituting
the front line child welfare caseworker position as an entry level job only. Such a workforce
does not at all align with the myriad and complex needs of seriously troubled children and
families who, absent effective intervention, will penetrate even further into the state’s public
assistance, mental health, and juvenile and criminal justice systems. Low pay and lack of
opportunity for advancement were the most consistently cited reasons for turnover and intent
to leave among case managers in this assessment. While workload is, as reflected above, a very
serious concern for many staff, compensation concerns everyone. Managers and supervisors

                                                  10
    2:15-cv-00134-RMG         Date Filed 12/05/18      Entry Number 95        Page 14 of 42




also cited it as a factor in hiring, as many prospective job candidates refuse to accept the work
based on the pay. They report that efforts to hire applicants with advanced educational
qualifications or experience at higher than entry level salaries are rarely successful and, as a
result, are often not even requested. This is reportedly rooted in the fact that, when positions
are authorized, they are funded only at the base rate of the pay scale. Thus, any increase in
salary must be funded from elsewhere in the agency’s budget.

The DSS Pay Plan provides a salary range for each of ten pay bands. Child Welfare caseworkers
and supervisors fall within pay bands 4 and 5. Pay band 4 is assigned a minimum salary of
$36,311 for child protection investigators/assessors and $34,733 for other child welfare case
manager positions. The midpoint salary for case manager positions other than those in IFCCS,
is $38,460 and the maximum is $49,932. More indicative of actual pay, however, is the current
state average which is $35,559 annually. IFCCS caseworkers fall within a higher pay band and
have an average salary of $37,064. It was reported that, prior to 2015, pay was ten to fifteen
percent less across positions. The overall average pay makes it clear that, despite limited
provisions for salary increases or assignment of salary up to the maximum amount in a pay
band, very few staff actually receive salaries at the middle or upper reaches of the pay ranges.
By way of reference, the median income in S. Carolina is $46,898 and the estimated living wage
for one parent and one child is $47,070 per year.16, 23

Base pay for supervisors, other than those in IFCCS, is currently $37,763 for those who
supervise child protection investigators/assessors and $36,122 for those who supervise other
case managers. Midpoint pay is $46,799 and maximum is $60,760. Average pay for supervisors
is $40,772, reflecting a figure nearer the minimum of the range than the midpoint or maximum.
It should also be noted that the base pay for supervisors of other than child protection and
IFCCS staff is actually $189 per month less than for case managers in child protection. IFCCS
supervisors fall in a higher pay band than others in the service continuum and are currently paid
an average of $44,711.

The DSS Pay Plan provides for certain circumstances in which salaries above the minimum
and/or current salary can be considered. These include “exceptional qualifications”, advances
in education, and changes in duties. All increases granted in DSS must be approved by the
Director of DSS or Deputy Director for Administrative Services. There is no higher rate of pay
for staff with advanced degrees or baccalaureate degrees in social work. There is also no
standardized increase associated with attainment of a MSW. Policy provides that up to a 5%
increase may be granted but is contingent upon a specific request that documents how
attainment of the degree is related to the employee’s duties. Given that child welfare is, in
fact, social work, this provision seems unnecessary and obstructive. In contrast, the pay scales
for teachers in S. Carolina tie each advancement in education to an increase in pay both at
entry and across the range (See Appendix C).

Interview data obtained in this assessment reflect a perception among many personnel in the
counties and regions that the process for authorizing salaries beyond the minimum in a range
that is currently in place in DSS is subjective and inequitable. Several specific instances were


                                                11
    2:15-cv-00134-RMG         Date Filed 12/05/18      Entry Number 95       Page 15 of 42




related in which individuals applying for vacant positions were offered substantially lower
salaries than the one who formerly held the position despite their possessing equal or greater
experience and qualifications.

There are no provisions in the pay plan for regularly occurring salary increases based on
experience or performance evaluation. Increases within pay grade typically occur only when
cost of living increases are enacted by the legislature, an event that was described as infrequent
and normally amounting to only a few percentage points of salary. There is also no career path
for case managers that provides opportunities for advancement in pay and status as they gain
experience and additional training. Promotion to supervision, middle level management, or
one of the specialized case manager or program coordinator positions associated with IFCCS or
OHAN affords the only opportunity for advancement. Thus, career incentives for staff are
largely limited to movement into positions in which most of the children and families served by
child welfare no longer stand to benefit in a direct way from their advanced expertise and
experience. Based on data compiled from exit interviews conducted from January 2017 to June
2018, the need for higher pay and advancement opportunities was a factor in at least 37% of
staff departures.

It was regularly reported by SCDSS personnel who were interviewed that counties bordering
Georgia and North Carolina lose staff to higher paying jobs in the child welfare agencies of both
of those states. North Carolina’s Mecklenburg County reportedly pays at least $10,000 per year
more for caseworkers. Georgia recently granted its staff a 19% raise and now has a three level
system that allows staff with MSWs or BSWs to advance to the third level within two years.
Starting salary in the level one case manager positions is $35,387.99, $38,926.72 in level two,
and $42,879.47 in level three. Georgia continues to report turnover of 27 per cent, down from
36 per cent. North Carolina was not included as a comparison state in this assessment as it is
county administered whereas S. Carolina is state administered. However, the reported loss of
staff in S. Carolina counties bordering Mecklenburg County suggests that SCDSS would do well
to explore salaries in the bordering counties of North Carolina in its upcoming salary study.

SCDSS staff are required to contribute 9% of their pay to the state retirement system. While
the existence of a pension plan is a positive, the fact that employees lose 9% of the buying
power of an already substandard salary is not. It should be noted that the living wage
calculation referenced above specifically excludes allowance for any savings or entertainment.16

Overtime work, which is paid in some systems, is typically accommodated in SCDSS only
through flexible hours or accrual of compensatory time. It was reported, however, that
workloads in many counties and/or programs preclude staff being able to flex or use
compensatory leave.

Finally, the way in which retention efforts have resulted in bonuses and increases being
awarded to some staff but not to others based on hire dates has resulted in salary compression
and in some supervisors being paid less than case managers. Bonuses targeting only certain job



                                               12
    2:15-cv-00134-RMG          Date Filed 12/05/18       Entry Number 95        Page 16 of 42




functions have caused considerable dissatisfaction among staff who did not benefit. This is not
surprising given the minimal level of pay across front line jobs.

Selection and Hiring
Data reports provided by SCDSS show that turnover in case manager, supervisor, and program
coordinator positions last year was almost 32 percent. For the first quarter of 2018, it was 11
percent compared with 9 percent for quarter one in 2017 and 7 percent in 2016. The time
required to fill vacancies occurring due to turnover and for new case managers to become
certified result in protracted vacancies that then create more overwhelming workloads for
caseworkers and supervisors remaining in the office and potentially contribute to further
turnover as these personnel are driven to seek other employment opportunities. SCDSS
personnel interviewed who held positions involved in hiring often referenced wide variations in
time required to get approval to fill vacancies, to have positions posted, and hiring
recommendations processed. Delays in this process sometimes result in new hires missing the
start of pre-service training and having to wait until the next session which can delay their
ability to assume responsibility for cases by three months or more.

While case manager positions are continuously posted, the same is not true for supervisors or
those in the OHAN unit which are classified as Program Coordinators. Administrative approval
is required to fill all positions. Because a departure from the agency requires pay out of the
employee’s unused annual leave, budgetary limitations dictate that approval to fill is
sometimes delayed in order to compensate for this payout. Such delays were described as
typically brief, but still constituting another factor that can contribute to extension of vacancies.

Some interview data indicate that the hiring pool for DSS is less than adequate. The agency was
described as being generally perceived as an undesirable place to work due to pay that is lower
than other areas of state employment requiring comparable qualifications and a negative public
image. This consultant heard the term “desperation” used repeatedly in relation to staff
recruitment and selection along with the comment that it often leads to hiring applicants who
are under qualified or otherwise poorly suited for the work. SCDSS does not use a realistic job
preview to provide applicants with insight into the demands of the work nor does it have a
standard interviewing and competency-based selection protocol informed by child welfare
workforce research as is used in a number of other states.

A recent analysis shows that staff with less than one year of experience account for 42 percent
of all turnover. This suggests that the agency’s selection, hiring, and onboarding practices are
not correctly identifying individuals with the interest and entry level competencies for child
welfare practice and that new hires are not being sufficiently supported in their orientation to
the work.

Turnover and the constant need to hire for vacancies in previously existing jobs was given as
the reason that DSS has been unable to fill the 163 positions newly authorized in the current
year budget. Further, the existing contract and physical space for pre-service training often
does not accommodate the number of new hires who need to attend in a single session.

                                                 13
    2:15-cv-00134-RMG          Date Filed 12/05/18      Entry Number 95       Page 17 of 42




In many states, partnerships with state university schools of social work are a major source of
recruitment. Federal title IV-E funding helps to support such programs and enables agencies to
work with universities to offer stipends, tuition payment, and agency-based internships to both
baccalaureate and masters level social work students. As a condition of participation in such
programs, students commit to work for the agency for a year for each year of tuition and/or
stipend payment. In some systems, they are certified at graduation and thus are not required
to participate in pre-service training since they have already had agency experience in
internships and course work that prepares them for their roles. New Jersey, for example, cites
its partnership with Rutgers University as a key factor in its having now achieved a workforce
that consists almost entirely of social work graduates and maintaining a turnover rate of less
than 10%. California, Pennsylvania, New York, Louisiana, Georgia, and Maryland are just a few
of the many other states who rely heavily on contractual relationships with schools of social
work in their state universities in recruiting new personnel and providing graduate level social
work education to existing employees. The Georgia Department of Family and Children’s
Services advises that it currently pays nothing for its university partnership aside from providing
some administrative support associated with coordination and drawing down federal IV-E
funds, as all matching monies are provided in kind by the seven participating universities
through instructors’ salaries.

SCDSS currently has no relationship with state university schools of social work beyond its
contract with USC for training. This lack was recognized by many middle management
personnel who feel that the agency is missing an excellent opportunity to recruit those most
well-suited for child welfare work. Some of the veteran staff interviewed had, in fact, obtained
their MSWs many years ago when the agency did have such a partnership and spoke of their
regret that this opportunity was no longer available to their newer colleagues.

Professional Development
There is no formal plan or pathway for ongoing professional development for staff and little
infrastructure to provide it. SCDSS has recognized this lack, however, and has now hired an
agency-wide training director and a child welfare training director with plans to build in-house
training capacity. A training plan is being developed with support of consultants at Chapin Hall
Center for Children at the University of Chicago. Concern remains, however, about the time
that this will take and whether sufficient resources will be available.

DSS human resources policy calls for all classified employees to have performance appraisals
annually and describes a generic appraisal process that applies to all positions within the
organization. Staff interviewed indicated that there is not a lot of investment in the evaluation
process because (a) many feel that it is unfair to evaluate staff who are so significantly
overloaded as many in the agency currently are and (b) the annual evaluations are not tied to
any consequence except in the reportedly rare instance that an employee is being



                                                14
    2:15-cv-00134-RMG          Date Filed 12/05/18       Entry Number 95        Page 18 of 42




recommended for termination. Evaluation conferences are, therefore, not routinely used for
the identification of learning needs and creating a plan to meet them in the coming year.

Each region has from two to four “performance coaches” who are intended to assist in coaching
and training of staff. A number of staff reported that they had received meaningful guidance
and support from these individuals. However, it is understood that these positions have no
requirements for advanced preparation or training and that their actual work assignments vary
with some also being assigned to carry cases.

Supervision
Although the supervisor to caseworker ratio in many units is within the recommended one
supervisor to five case managers, it was reported in some instances to be as high as one to nine
and several supervisors stated that they either currently or in the recent past have had to also
supervise staff in other units when supervisory vacancies occur.

Supervisors in some counties are themselves carrying cases. Based on the most recent data
provided, 83 supervisors are managing at least one case, 72 of those have caseloads up to 24,
and six have more than 40. Given the importance of the supervisory role in child welfare and
its demonstrated relationship to staff turnover and performance, the findings related to higher
caseworker to supervisor ratios and the incidence of supervisors carrying multiple cases are
particularly concerning.

Of additional concern is the fact that there is currently no established onboarding process to
prepare supervisors for the lynchpin role they play in the child welfare agency. Although
supervisors reported that there are a few training courses designed specifically for them, they
consistently said that they had not attended them until after they had supervised for at least a
year. DSS has recently announced a “Leadership Academy for Supervisors” that consists of a
one-hour orientation and five six-hour sessions leading to award of a certificate in leadership.
It is described, however, as being only for supervisors who are ready to move into leadership,
who have been on the job for at least one year, and who are recommended for participation.
The nature and importance of the supervisory role in child welfare warrants investment in
immediate training and mentoring that specifically prepares supervisors to model, teach, and
assess practice skills, build a supportive learning culture within their units and offices, and
recognize and address policy, resource, and knowledge and skill barriers to the achievement of
the best outcomes for children and families.

Lastly, DSS lacks a structure that provides opportunities for ongoing systematic input from
supervisors concerning policies, resources, workload management, and staff development
needs. As occupants of the position that links practice and administration, supervisors can
provide leadership with insight into these and other issues that directly affect the agency’s
ability to achieve its mandate in protecting vulnerable children and providing services that
strengthen families. Thus they should be valued not only for their role in communicating
directives from leadership to front line staff, but for the perspective they can offer to policy
makers and planners at the top of the organization.

                                                 15
    2:15-cv-00134-RMG          Date Filed 12/05/18      Entry Number 95        Page 19 of 42




V. Recommendations
The recommendations below are formulated to support DSS’ goal of designing and
implementing strategies to attain the caseload goals established and approved by the Co-
Monitors in December 2016 as well as to provide a foundation for recruitment and retention of
casework and supervisory personnel for the full continuum of child welfare services.

1. Caseload/Workload
1.1. Establish clear priorities and timelines for hiring to achieve caseloads established and
approved by the Co-Monitors in December 2016:

      Foster Care Caseworker - 1 caseworker: 15 children
      IFCCS Caseworker - 1 caseworker: 9 children
      Adoption Caseworker - 1 caseworker: 17 children
      OHAN investigator - 1 caseworker: 8 investigations

This will require (a) identifying specific counties and programs for allocation of positions, (b)
ensuring prompt and immediate posting of vacancies to include both existing and newly
allocated positions, (c) aggressive recruitment outreach to universities in closest proximity, (d)
designation of new hires for these counties/programs as having priority for participation in pre-
service training, and (e) engaging with USC Center for Child and Family Studies to determine
costs and resources for additional training capacity and space necessary to on-board new hires
at the rate required.

1.2. Although not directly pertaining to Michelle H. class members or enforceable by the Court,
it is recommended that DSS use the guidelines established by the Child Welfare League of
America, the Council on Accreditation, and the Children’s Research Center (see Appendix C) to
set and make efforts to reach caseloads for child protection and in-home services.

As DSS staff undoubtedly recognize and appreciate, from the standpoint of families, it is not
possible to separate the child welfare continuum of services into truly discrete programs. The
quality and timeliness of work in assessment and family preservation has an unavoidable effect
on the workload and complexity of cases that arrive in the custody programs and the reverse is
true as well in the case of families that are re-referred for child welfare involvement. Further,
the “front end” programs of the continuum represent the best opportunity in child welfare to
prevent trauma and further negative outcomes associated with repeat maltreatment and
separation of families.

1.3. Consider the rationale for the existence of specialized positions for adoption and IFCCS in
light of current staffing and determine whether these designations actually contribute to
improved outcomes for children and families served by DSS. What benefits might be derived
from assigning these positions to the standard continuum of services?

1.4. Consider measures to reduce travel time for staff serving children in out of home care. This
might include (1) reviewing regional recruitment and retention plan outcomes and developing
strategies for increasing the net gain of resource homes against benchmarks; (2) creating

                                                16
    2:15-cv-00134-RMG           Date Filed 12/05/18      Entry Number 95         Page 20 of 42




positions to support timely identification of kinship resources in children’s counties of origin or
in adjoining counties; (3) assuring that new foster parents understand their responsibility to
provide transportation and that their compensation for doing so is adequate; and (4) assessing
the adequacy of trained support positions to assist in transportation when this is consistent
with practice considerations (i.e., nature of the event for which transportation is required). It is
understood that SCDSS is working with other consultants to develop and implement strategies
for improving the array and utilization of placement resources. This recommendation should,
therefore, be considered and adjusted to integrate with the findings of that work.

1.5. Strive to eliminate the assigning of adult protection cases to child welfare staff. The
assignment of mixed caseloads across the child welfare program is understandably necessary in
smaller counties and a common practice in child welfare agencies. Child welfare practice does,
however, have its own unique competencies. These include an understanding of human and
family development, attachment theory, the potential impact of maltreatment on child
development, identification of supports and interventions that match presenting child and
parent needs, and the clinical knowledge necessary to accurately complete the safety and risk
assessment instruments typically employed in today’s agencies. In addition, the legal
frameworks that undergird child and adult protection are very different. To ask child welfare
staff to be responsible for both of these functions carries the risk of diluting their focus on the
development of skills in child safety and family functioning. Likewise, the vulnerable adults who
are the subject of adult protective services deserve professionals who are uniquely attuned to
their needs, available resources, and the legal framework within which protective action can be
taken.

1.6. Review intake screening criteria and substantiation rates by referral type to determine
whether acceptance of 70% of referrals for assessment is warranted. Child protection
assessments should only be conducted if referrals clearly represent a report of suspected
maltreatment in accordance with state law as they constitute a large investment of staff
resources and represent substantial intrusion into families.

1.7. Ensure sufficient infrastructure at the central office level for timely policy development and
issuance. It is critically important that front-line staff be able to quickly access policy directives
that guide their work.

2. Compensation and Career Advancement
2.1. After workload, low pay and lack of opportunities for career advancement were the most
consistently cited responses to staff questions about the reason for problems in recruitment
and retention and, as stated above, these factors constituted 37% of reasons for leaving the
agency given in exit interviews with departing staff. If S. Carolina wishes to attract and retain
high quality personnel in child welfare, it must (1) substantially raise entry level pay and (2)
develop a system that grants experience and performance/attainment-based increases at
intervals during the individual’s career progression. This requires that the salary study, which is
reported to be underway in DSS, be made an immediate priority and its findings reflected in
budget requests at the earliest possible point. In examining salaries in comparable areas of


                                                 17
    2:15-cv-00134-RMG          Date Filed 12/05/18      Entry Number 95        Page 21 of 42




work and in child welfare agencies in other states, especially those in the Southeast,
consideration should also be given to turnover in those positions. SCDSS likely has little to gain
from placing compensation at the same levels as those in organizations that also have high
levels of turnover unless it is clear that such turnover stems primarily from other factors.

2.2. Assess the fiscal impact and request the budget to assign a standard increase above base
pay (e.g., 5 percent for BSW and 10 percent for MSW) for staff having social work degrees as is
the practice in, for example, Oklahoma. Individuals with child welfare casework or supervisory
experience of two years or greater with positive performance history as confirmed by their
prior child welfare employer should also be started at a salary at least 5% beyond the base.

2.3. With the Office of Human Resources, review current procedures for approving requests for
authorizations of salary above the minimum and for salary increases within pay band and make
any changes needed to ensure that they are based upon clear, objective, and consistently
applied criteria. Communicate the procedures and criteria in writing to all staff.

2.4. Examine supervisory and management pay in relation to front line positions and establish
base rates and ranges, along with periodic merit-based increases, that ensure that supervisors
and managers are compensated at rates higher than front line staff.

2.5. Continue to explore and advance the proposals already initiated to provide repayment of
student loans for new graduates in social work and, possibly, in very closely related fields.
Attention should, however, be paid to curricula in any programs considered and whether the
curriculum includes internships in direct services with a population closely approximating that
presenting to the child welfare agency. This should also hold true for consideration of prior job
experience as relevant to child welfare.

2.6. Develop a career path that encourages caseworkers to remain in direct service positions
while advancing in demonstrated knowledge and skills. Ideally such a “ladder” would afford at
least three to four levels that tie the certified attainment of advanced knowledge and skills in
selected areas (e.g. working with families experiencing domestic violence, child sexual abuse,
chronic neglect) to job descriptions of workloads that combine specialized caseloads with staff
mentoring and in-agency consultation.

3. Hiring, Turnover, and Retention
3.1. A system should be established to track all positions necessary for compliance with child
welfare caseloads and supervisory ratios and all such positions authorized deemed approved
for immediate posting upon vacancy. Rise of child welfare caseloads in any county beyond
levels that can be maintained within standard by the number of authorized positions must be
addressed immediately by either (a) moving an authorized position that is unnecessary to
maintain caseload standards in another location or, in the absence of such position, (b)
submitting an immediate request for authorization and budget to increase the staff allocation
in the county that is over standard. This will require (a) ongoing tracking of county workloads
and (b) establishing a metric to determine both the volume and time period that constitutes a
need for an upward or downward designation of staff need. Such a metric is used in most child

                                                18
    2:15-cv-00134-RMG          Date Filed 12/05/18      Entry Number 95       Page 22 of 42




agencies to avoid the need to make staffing adjustments in response to caseload changes that
are very small or of very brief duration.

Secondarily, DSS and the state personnel authority should conduct an analysis of the child
welfare position authorization, budgeting, and hiring process to determine all of the underlying
causes for delays in hiring and identify ways to streamline and standardize the process. This
analysis should be facilitated by a party not directly involved in the HR process and include
input from regional and county personnel involved in hiring.

3.2. Implement Stay interviews that are conducted by managers for staff at regular intervals
(e.g., 60, 90, 180, 260 days) through their first year of work and follow up on needs expressed
by interviewees. Such interviews were part of workforce retention efforts that greatly
improved staff stability in North Carolina. Examples of questions include:
    o Are you getting the tools and training that you need?
   o Do you have a good relationship with your peers?
   o What is the fit with your supervisor?
   o What is the cultural fit with the agency?

3.3. Immediately develop (a) a realistic job preview video that can be accessed on the SCDSS
website by prospective applicants and (b) a consistent interview protocol that includes
responses to a series of typical case scenarios and at least two exercises requiring the
organization of critical case information into a written report. The federally supported National
Child Welfare Workforce Institute (NCWWI) offers resources that can be accessed free of
charge to guide development of recruitment and hiring plans and protocols. One of these is
Staying Power, a complete hiring and selection protocol that was developed at the University of
North Carolina Jordan Institute for Families and has been used successfully in N. Carolina,
Louisiana, and other states to reduce turnover through more focused and consistent selection
(See Appendix C). Information is also available from neighboring Georgia on the research-based
employee selection protocol developed at the University of Georgia School of Social Work, and
a compendium of realistic job previews can be accessed on line at the Child Welfare
Information Gateway.

3.4. Establish formal partnerships with state university schools of social work to develop (a) a
program to recruit baccalaureate social work graduates and (b) to support opportunities,
including increased salary incentives, for staff to obtain the MSW.

Ultimately, graduates of the baccalaureate program, having already completed DSS internships,
some (perhaps two child welfare courses) specialized course content, and passed the social
work licensing examination, should be considered certified at the end of their senior year so
that they can move directly into casework positions without the need to go through pre-service
training. If the BSW program includes, as many around the U.S. do, payment of tuition and/or
provisions for a senior year stipend as well as an internship, graduates should also enter with a
two year commitment to work for DSS. Technical assistance in accessing federal Title IVE funds
to develop and support the agency-university partnership should be sought from the Region 4

                                                19
    2:15-cv-00134-RMG          Date Filed 12/05/18      Entry Number 95        Page 23 of 42




office in Atlanta and perhaps from independent consultants with expertise in federal child
welfare financing. A listing of some states having active agency-university partnerships is
provided in Appendix D to enable SCDSS representatives to seek peer consultation. The
neighboring state of Georgia, for example, reports having an active agency-university
consortium which currently involves seven public universities and operates at no direct cost to
the agency.

3.5. Establish clear priorities in hiring for staff with social work degrees, criteria for what
constitutes a “related degree” to be only those that include clinical content and internship
requirements in settings serving populations closely approximating those presenting to child
welfare agencies, and higher hire rates for those with BSWs, and MSWs.

3.6. Develop an “over hire pool” that uses calculation of average vacancy rates to allow for the
onboarding of casework staff over and above actual vacancies so that they are already
completing training and available to fill vacancies as they occur. Ideally, a trained and certified
caseworker from the “over hire pool” would be deployed to shadow a resigning or promoting
caseworker as he or she transitions casework responsibility.

4. Professional Development
4.1. Institute a process that ensures supervisors are the initial recipients of training and
coaching in new knowledge and skills as such content is introduced into child welfare practice.
This should begin by ensuring that all current supervisors have been exposed to course content
being provided to new staff attending the current pre-service. Participation in such
trainings/coaching should not be elective.

4.2. Acknowledge the unique positions of supervisors at the midpoint of the organization (i.e.,
“touching” both front line staff and management) by creating a structure for them to regularly
provide input and feedback regarding program policy, workforce development, internal and
external messaging, and any other barriers to the attainment of positive outcomes for families.

4.3. Prioritize supervisors in all professional development opportunities such as stipends to
obtain MSWs, additional training/certification in specialty areas, and incentivize through higher
pay grades, formal acknowledgment of expertise, bonuses, appointment to special committees
and task forces, etc.

4.4. Redefine the current “performance coach” position to clearly call for staff with advanced
knowledge, experience, and practice skills and standardize their role in providing clinical and
case consultation to front line staff. As an example, in some systems, staff in comparable
positions are required to have MSWs and/or clinical licensure. These positions should be
protected from assignment as case carrying staff.

4.5. Develop a performance appraisal process for child welfare staff at all levels that reflects the
values and principles of the child welfare practice model and includes identification of needs for
additional learning and skill development. This might use the format currently issued by the
state’s personnel system, but instructions for its completion in child welfare staff should

                                                 20
    2:15-cv-00134-RMG        Date Filed 12/05/18     Entry Number 95       Page 24 of 42




incorporate reference to specific competencies and to professional development in child
welfare knowledge and skills. Implementation of this recommendation will require
coordination with the consultants and DSS workgroup involved in the development of the
agency’s training plan.

4.6. Develop a curriculum for ongoing professional learning and skill building in key areas of
practice such as motivational interviewing, solution-focused approaches, behaviors associated
with building client trust and working alliance, factors that underlie maltreating behaviors,
behaviorally based case planning, and utilization of evidence-based interventions that is
accessed through a framework of individualized development planning based on caseworkers’
unique learning needs, areas of interest, and performance evaluation. Ideally, this would
ultimately include advanced curricula leading to specialized certification in areas germane to
child welfare practice such as assessment and intervention in domestic violence, in families
experiencing parental substance abuse, with developmentally disabled parents, and in child
sexual abuse. As in 4.5., detailed planning for implementation of this recommendation requires
coordination with the consultants and workgroup developing the agency’s training plan.

4.7. Establish an objective process for onboarding of supervisors that includes earlier mutual
selection by case managers and their supervisors/managers as candidates for supervisory and
management preparation and establishing a track for supervisory skills development to begin
immediately for newly appointed supervisors and to continue through their first two years in
supervision. This process, characterized in some systems as a “Supervisors’ Academy” would be
compulsory and provide both classroom training that begins immediately upon assumption of a
supervisory position and ongoing mentoring by an assigned mentor identified based on
demonstrated skills in practice and supervision.

4.8. Establish a leadership academy for managers that provides both a standard track and
electives for professional development. Curricula and course content should ensure an
understanding of:
     fundamentals of management in complex organizations;
     importance of a positive, outcome-oriented organizational culture that promotes
        transparency and learning;
     practice innovations, and their associated evidence; and
     key factors in the assessment and attainment of child safety, permanency, and well-
        being.

The above should be subject to ongoing adjustments, drawing on nationally recognized experts
(i.e., researchers and model developers/purveyors) to reflect advancements in knowledge and
the emergence of new evidence-based and research-informed models and approaches.

5. Implementation Support
5.1. Create positions within DSS to oversee implementation of this workforce plan and
coordinate with related plans supporting compliance with provisions of the Michelle H.
settlement. The lead of this unit would report directly to the Director of DSS.


                                              21
    2:15-cv-00134-RMG          Date Filed 12/05/18       Entry Number 95        Page 25 of 42




VI. Implementation

Recruiting and maintaining a qualified, stable front line workforce in child welfare is a
multifaceted endeavor. Jurisdictions that have achieved workforce stability and performance
objectives stress that their success is not due to one factor alone. This fact is reinforced by the
workforce research summarized in section III of this report.

Implementation of the recommendations of this assessment will require the commitment and
oversight of SCDSS leadership and of subordinate personnel to whom responsibility is delegated
for specific activities. It is also dependent upon the successful achievement of other system
improvements which are being addressed concurrently in the agency with the support of
additional external consultants. These include, but are not limited to, development of the
practice model, a comprehensive training plan, and expanded placement resources. The
degree to which leadership in the department can foster and sustain a culture that supports
staff learning and skill development will also determine the extent to which the organization is
able to keep personnel whose advanced expertise makes them attractive to other work
settings. It is, however, precisely such personnel who are best suited to address the needs of
families served by child welfare. Finally, and significantly, success will depend upon the agency
being resourced at the level necessary to fulfill its statutory mandates and the requirements of
federal and judicial oversight.




                                                 22
    2:15-cv-00134-RMG           Date Filed 12/05/18       Entry Number 95         Page 26 of 42




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                                                  23
    2:15-cv-00134-RMG            Date Filed 12/05/18        Entry Number 95          Page 27 of 42




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                                                    24
2:15-cv-00134-RMG       Date Filed 12/05/18      Entry Number 95       Page 28 of 42




                                    Appendix A

                     Documents Reviewed for the Assessment

        Michelle H. Settlement Agreement
        Michelle H. et al v. McMaster and Alford Monitoring Reports, I & II
        The SCDSS Case Practice Model
        Organizational charts
        2015 Training Plan
        2015-19 IVB Training Plan
        DSS and CSWE Training Competencies
        DSS workload analysis report, attachments, work group meeting minutes, and
         associated documents from Casey Family Programs
        Job Classifications and 2016 pay scales for CPS, Foster Care, IFCCS, Adoptions,
         and Family Preservation case managers and supervisors
        2018 Insurance Summary
        2017 Bonus Memo
        Summary of exit interviews January 2017-June 2018
        May 2018 Reviews Caseload Implementation Plan
        Workgroup charters for the DSS training, workload, and recruitment and
         retention workgroups
        Front line and supervisor turnover data for 2014 through quarter 1, 2018
        Workforce documents and websites from comparison states
        Job descriptions and workforce reports in selected states.
        SCDSS policy pertaining to salary raises in child welfare positions.
        SCDSS Employee Performance Management appraisal forms and policy.
        SCDSS Caseloads and Turnover PowerPoint presented at Senate hearing of
         8/23/18.
        Caseload data reports
        Reports of caseloads assigned to supervisors
        Utilization records of transportation vendors
        Schedule of stipend payments to foster families




                                         25
     2:15-cv-00134-RMG             Date Filed 12/05/18         Entry Number 95           Page 29 of 42




                                                  Appendix B

                                             Interview Questions



                              Interviews Questions for Local Office Directors



A. Interviewer explains: purpose of interview, assurance of anonymity, voluntary nature of interview.
Provide opportunity for interviewees’ questions.
B. Questions:
1. Experience
2. County size: how many staff/units
        Assessment
        FP
        FC
3. Strengths/challenges with regard to workforce

       Degree of turnover and reasons

       Recruitment

       Hiring process/personnel selection


4. Describe the local office culture (morale, staff fear of liability, comfort with innovation, collegiality)


5. Describe the quality and sufficiency of training,
       Pre-service

       Ongoing
6. What role does performance appraisal play in guiding individual professional development planning
for staff?


7. What are your views on the quality of supervision provided in your office? Why? What factors affect
supervision either positively or negatively? Supervision: How often do you have regularly scheduled
consultations with your staff?




                                                       26
    2:15-cv-00134-RMG            Date Filed 12/05/18        Entry Number 95          Page 30 of 42




8. Describe relationships with the community in your county

       Court

       Service providers

       Law enforcement


9. If you had the authority and resources necessary to make the most positive impact possible on the
workforce in SCDSS, what three things would you do?


10. Is there anything I didn’t ask you that you think I should know in my role as a consultant in workforce
planning?




                                                    27
     2:15-cv-00134-RMG             Date Filed 12/05/18         Entry Number 95           Page 31 of 42




                                    Interview Questions for Supervisors



A. Interviewer explains: purpose of interview, assurance of anonymity, voluntary nature of interview.
Provide opportunity for interviewees’ questions.
B. Questions:
1. Experience
2. What program(s) do you supervise?
3. How many staff do you supervise?
4. What are the approximate caseloads of your staff?


5. What strengths/challenges do you see with regard to workforce in DSS?
       Degree of turnover and reasons

       Recruitment

       Hiring process/personnel selection
6. How often do you have scheduled meetings with individual case managers in your unit?
7. Do you have group meetings with your unit and, if so, how often and for what purpose?
8. Describe the local office culture (morale, staff fear of liability, comfort with innovation, collegiality)


9. Describe the quality and sufficiency of training,
       Pre-service

       Ongoing
10. What are your views on the quality of supervision provided in your office? Why? What factors affect
supervision either positively or negatively? Supervision: How often do you have regularly scheduled
consultations with your staff?
11. Describe relationships with the community in your county
       Court

       Service providers

       Law enforcement


                                                       28
    2:15-cv-00134-RMG            Date Filed 12/05/18        Entry Number 95          Page 32 of 42




12. If you had the authority and resources necessary to make the most positive impact possible on the
workforce in SCDSS, what three things would you do?


13. Is there anything I didn’t ask you that you think I should know in my role as a consultant in workforce
planning?




                                                    29
     2:15-cv-00134-RMG             Date Filed 12/05/18         Entry Number 95           Page 33 of 42




                                  Interview Questions for Case Managers
A. Interviewer explains: purpose of interview, assurance of anonymity, voluntary nature of interview.
Provide opportunity for interviewees’ questions.
B. Questions:
1. Experience
2. In what program(s) do you work?
3. How many staff are in your unit?
4. What is your approximate caseload?
5. What strengths/challenges do you see with regard to workforce in DSS?
       Degree of turnover and reasons

       Hiring process/personnel selection (based on our experience)
6. Do you think you will be in your job two years from now? Why or why not?
7. How often do you have scheduled individual meetings with your supervisor?
8. Does your supervisor have group meetings with your unit? If so, how often and for what purpose?


9. Describe the local office culture (morale, staff fear of liability, comfort with innovation, collegiality)


10. Describe the culture in your unit?


11. Do you feel that your supervisor is competent? Why or why not?


Do you feel that your supervisor is supportive? Why or why not?


12. Describe the quality and sufficiency of training you have received,

       Pre-service

       Ongoing
13. Describe relationships with the community in your county

       Court

       Service providers



                                                       30
    2:15-cv-00134-RMG            Date Filed 12/05/18        Entry Number 95          Page 34 of 42




       Law enforcement


14. If you had the authority and resources necessary to make the most positive impact possible on the
workforce in SCDSS, what three things would you do?


15. Is there anything I didn’t ask you that you think I should know in my role as a consultant in workforce
planning?




                                                    31
    2:15-cv-00134-RMG            Date Filed 12/05/18        Entry Number 95         Page 35 of 42




                            Interview Questions for USC Training Personnel
A. Interviewer explains: purpose of interview, assurance of anonymity, voluntary nature of interview.
Provide opportunity for interviewees’ questions.
B. Questions:
1. Describe your experience:



2. What role do you play in training? Do you have any connection to Quality Assurance?



3. How do you connect with DSS?



4. Describe the planning and decision making processes you/USC engage in with DSS.



5. What is going well in the planning and delivery of training?



6. What are the challenges in the planning and delivery of training?



7. Is the capacity and staffing of the USC training program adequate for the need? If not, what is
lacking?



8. Is a competency-based training approach used? If so, what are the competencies and how were they
developed?



9. If you had the authority and resources, what three changes would you make to improve training,
both pre-service and in-service?



10. Is there anything I didn’t ask about that you think I should know?




                                                    32
    2:15-cv-00134-RMG           Date Filed 12/05/18          Entry Number 95       Page 36 of 42




                  Interview Questions for Administrators/Managers in Central Office


A. Interviewer explains: purpose of interview, assurance of anonymity, voluntary nature of interview.
Provide opportunity for interviewees’ questions.
B. Questions:
1. Describe your role. How long have you been in your job?


2. What experience did you have before taking your current job?


3. When you think about the workforce in SCDSS, especially at the front line, what positives do you see?
What challenges?


4. In what way are you positioned to influence the challenges you identify?


5. If you have the resources and authority necessary to enact changes that would positively the
workforce, what three things would you do?


6. If there anything I have not asked you about that you think I should know?




                                                   33
    2:15-cv-00134-RMG         Date Filed 12/05/18      Entry Number 95      Page 37 of 42




                                          Appendix C
                     Resources for Building the Child Welfare Workforce
This section contains links to the workload and workforce resources from nationally
recognized organizations as listed below:
1. PA.CFS 33.12, workload guidelines for public child welfare agencies from the Council on
Accreditation. Available at http://coanet.org/standard/pa-cfs/33/
2. Caseload guidelines from the Child Welfare League of America, page 5 of Direct Service
Workers’ Recommendations for Child Welfare Financing and System Reform, 2012. Available at
https://www.cwla.org/wp-content/uploads/2014/05/DirectServiceWEB.pdf
3. Wagner, D., Johnson, K., and Healy, T. (2009). Agency Workforce Estimation: Simple Steps for
Improving Child Safety and Permanency. Children’s Research Center, Focus, April 2009.
Available at
https://ncwwi.org/files/Job_Analysis__Position_Requirements/Agency_workforce_estimatio
n.pdf
4. Staying Power, a toolkit for employee recruitment and selection in child welfare developed at
the Jordan Center for Families at the University of North Carolina at Chapel Hill. Available at
https://ncwwi.org/files/Recruitment_Screening_Selection/Selection_Toolkit.pdf

5. The Workforce Development Framework from the National Child Welfare Workforce Center.
Available at
http://ncwwi.org/files/Workforce_Development_Process/WDF_Final_June_2015.pdf

6. Compendium of realistic job previews at the Child Welfare Information Gateway:
https://www.childwelfare.gov/learningcenter/video-series/rjp/

7. South Carolina Teacher Salary Schedules:
https://ed.sc.gov/finance/financial-data/historical-data/teacher-salary-schedules/




                                              34
    2:15-cv-00134-RMG         Date Filed 12/05/18      Entry Number 95        Page 38 of 42




                                         Appendix D
                          Workforce Information from Selected States

States referenced in this section are primarily those located in the South or Midwest as these
were considered most comparable to S. Carolina in terms of their economies and employment
markets. In addition, two northeastern states (Connecticut and New Jersey) are included
because they have successfully met workforce and workload requirements associated with
federal class action litigation.

Connecticut
Child welfare staff turnover in Connecticut ranges from 10 percent to 15 percent, but is usually
from 10 percent to 12 percent. Leaders attribute this level of staff stability to the following:
            As a unionized state, salaries and raises in CT are negotiated. Agreements are re-
               negotiated every 2 and ½ to 4 years. Based on the current agreement, CW staff
               classification and award of salary increases is based on education and
               experience.
                    o Trainee – Trainees are hired at base pay, receive one raise at four
                        months, and another at one year$51,188 to start; $1500 raise at 4
                        months; .
                    o SW level (either Trainees at one year and successful completion of
                        training or MSWs with experience who begin at Social Worker level)-
                        Receive a variable cost of living increase each July and an increase based
                        on their experience for up to nine years. After nine years, employees
                        received an annual lump sum payment which does not add to their
                        salary.
            Hiring for child welfare positions is prioritized to BSWs and MSWs.
            The agency uses a “predictive hiring plan” which calls for hiring up to 25 social
               workers every other month in an effort to minimize vacancies and the time that
               they last and to meet and maintain the current number of allocated positions.
               This plan accommodates the 120 new social worker positions the department
               was authorized to hire as of January 2018.
            The agency worked with the National Staff Development and Training
               Association to develop its current pre-service and ongoing training curricula.
               Training relies heavily on simulations which use former clients to role play family
               members and attorneys to train court simulations. New employee training is
               divided into two tiers: Tier 1 consists of four to five weeks of classroom training
               with no case assignment; Tier 2 weaves limited case assignment with training
               and mentoring.
            In-service training consists of 30 hours per year. Content is based heavily on
               continuous quality improvement findings and individual learning plans. A
               Learning Management System tracks staff learning.


                                                35
    2:15-cv-00134-RMG         Date Filed 12/05/18     Entry Number 95        Page 39 of 42




Contacts:
1. Jodi Hill-Lilly, Training Director, JODI.HILL-LILLY@ct.gov
2. Jeanette Perez, Human Resources Director, JEANETTE.PEREZ@ct.gov


Georgia
Georgia Division of Family and Children’s Services has reduced turnover from about 37 percent
to 19 percent and is on track to achieve further reduction. This is attributed to
             Awarding of a 19% raise for frontline staff.
             Implementation of a practice model grounded in Solution Based Casework.
             Institution of a supervisor mentoring program that uses 23 mentors to support
               new supervisors across the state.
             Creation of practice model coaches with advanced training and support.
             Institution of a three level Social Service Specialist series for caseworkers.
             Development of competency-based training provided through the agency’s
               caseworker academy.
             Implementation of the research-based employee selection protocol developed
               at the University of Georgia School of Social Work. This protocol includes a video
               realistic job preview, an applicant self-assessment, and a structured interview
               process.
Qualifications and starting salaries for caseworker positions are as follows:
     Social Service Specialist 1
               $35,387.99
               A baccalaureate degree from an accredited college or university
     Social Service Specialist 2
               $38,926.79
               Masters degree in any behavioral science or a BSW with one year experience as a
               Social Service Specialist 1 or position equivalent.
     Social Service Specialist 3
               $42,819.47
               Master’s in Social Work or BSW and one year of experience as a Social Service
               Specialist 2

Contacts in Georgia:
1. Lee Biggar, MSW, Assistant Division Director, Knowledge Management, Georgia Division of
Family and Children’s Services, lee.biggar@dhs.ga.gov
2. Denise Edwards, Georgia Division of Family and Children’s Services, Lead for agency-
university consortium, l.denise.edwards@dhs.ga.gov


Iowa
Iowa Department of Human Services maintains a turnover rate averaging between 8 and 9 percent
for ongoing child welfare caseworkers and between 4 and 5 per cent for those conducting

                                               36
    2:15-cv-00134-RMG          Date Filed 12/05/18      Entry Number 95        Page 40 of 42




assessments. Iowa attributes this degree of staff stability primarily to the competitive rate of
compensation provided for child welfare staff. The current annual salary range for Iowa Social
Worker 2s who are front line case managers in ongoing services ranges from $42,702.40 to
$63,502.40. For Social Worker 3s who perform child abuse and neglect assessments, the annual
salary range is $46,217.60 to $69,721.60. Both classifications are eligible for premium overtime
which is at the one and one-half time rate for hours worked in excess of 40 per week.

Louisiana
Overall turnover has dropped from 23.8 percent to 16.5 percent over the past year. Of the
state’s nine regions, one of the largest had a turnover rate of over 50 percent two years ago
and is now at less than 30 percent. They attribute this to
             Adoption of the Staying Power selection and hiring protocol;
             Granting of two raises (one of 3-4 percent depending on salary and another of 2
                percent) over the past year;
             Adding another promotional level to the Child Welfare Specialist job series (i.e.,
                caseworker position in all child welfare programs) so that it now consists of Child
                Welfare Trainee, Child Welfare Specialist 1, CWS 2, and CWS 3 with automatic
                promotions for those with satisfactory job performance;
             Expanding the federal Title IV-E supported Child Welfare Scholars Program to all
                seven public university social work programs in the state. This program funds
                stipends, course work, and agency-based internships for up to 35 senior BSW
                students per year.
             Provision of monetary incentives for agency supervisors to supervise student
                interns.
             Reinstatement of the agency’s MSW program for employees. This provides up to
                240 hours of educational leave and covers tuition and books. The agency is
                working toward restoring the full time educational leave and 75 per cent of
                salary provision for MSW students that it offered a number of years ago.
             Provision of funding for payment of clinical supervision for MSWs wishing to
                obtain the Licensed Clinical Social Worker credential.
             Full implementation of a training academy for supervisors. This provides 2 days
                of classroom training per month for one year beginning with assignment to a
                supervisory position with the second 6 months focused on using CQI findings to
                identify and address practice needs, and three years of individual mentoring by
                paid mentors who are drawn primarily from retired former supervisors and
                managers.
The entry salary range for the Trainee/Child Welfare Specialist 1-3 series is from $29,733 to
$42,380 per year and the maximum is $57,180.
The salary range for Child Welfare Supervisors is $46,6880 to $91,896 per year. Need to add
information about promotions, raises.
Contacts:
1. University IV-E partnership lead: Ruth T. Weinzettle, Ph.D., LCSW, weinzettler@nsula.edu



                                                 37
    2:15-cv-00134-RMG          Date Filed 12/05/18      Entry Number 95       Page 41 of 42




2. Department of Children and Family Services, Training Director: Jan Byland, JD, MSW,
jan.byland.dcfs@LA.GOV

New Jersey
New Jersey Department of Children and Families has for several years maintained a turnover
rate of less than 10 percent. Currently, the majority of its turnover in frontline positions is
accounted for by agency promotions. Its leadership attributes this staff stability to:
     Salary increases. Staff enter as trainees, become Family Services Specialists in one year
        with a promotion, and can then promote to Family Services Specialist I.
     A strong relationship with university schools of social work that recruits BSW students
        and provides support for MSW education.
     A strong family centered practice model that is embedded at all levels of the agency
     Keeping caseloads down by maintaining a constant pool of prepared employees.
        Applicants are categorized into three tiers, A, B, and C with the “A list” comprising only
        BSWs or MSWs. Currently, the agency is almost always able to fill vacancies from this
        list.
     Training units in all offices.
Contact:
Suzanne Alvino, Administrator, Office of Training and Development, New Jersey Department of
Children and Families, Suzanne.Alvino@dcf.nj.gov

Oklahoma
The Oklahoma Department of Human Services (OKDHS) is working under a federal court
settlement agreement to reduce caseloads and turnover. Current turnover rates were not
available. However, the agency has enacted two salary increases in the past 3 years and,
anecdotally, finds that turnover is down in most areas of the state. The agency recently
received a federal workforce grant and is focusing on the identification of reasons for staff
turnover.
OKDHS has a three-step career ladder for front-line staff in child welfare. Positions include Child
Welfare Specialist I, II, and III. The CWS I requires only a college degree in any subject and no
experience. Level two requires one year of experience at level one and level three one year at
level II so that an employee with a positive performance rating can progress to level III within
two years. Currently salaries in these classifications are as follows:
Child Welfare Specialist I: $36,669.36
Child Welfare Specialist II: $40,624.92
Child Welfare Specialist III: $48,484.92
Child Welfare Specialist IV is the supervisory level and has a starting salary of $55,245.60
Staff with BSWs are started at salaries 5% above the base level and those with MSWs at 10%
above.
Contact:
Stacy Pederson, Director of Human Resources, OKDHS, stacy.pederson@okdhs.org

Texas


                                                38
    2:15-cv-00134-RMG         Date Filed 12/05/18      Entry Number 95       Page 42 of 42




The Texas Department of Family and Protective Services (DFPS) decreased its turnover by 27.5
percent in just one year through the following measures:
     Changes in leadership
     New caseworker training and mentorship
     Stipends to caseworker mentors
     Lowered caseloads
     Higher salaries (Raises of $1,000 per month)
     Enhanced promotion practices including a structure that allows MSWs to go to $57,000
        within three to four years.
     Additional staff (800 new positions)
     Increased emphasis on organizational culture
     Increased focus on staff recognition
     Adoption of new caseworker safety protocols and technology
     Use of a screening tool for supervisor selection
Salaries for caseworkers in Texas DFPS now range from $45,800 to $49,134 per year with an
additional $416 per month stipend for child protection investigation caseworkers.
Caseworkers who mentor are given a stipend of $300 per month when mentoring. They are
assigned for three months at a time.
See https://www.casey.org/texas-turnover-reduction/ for further details.
Note: Even with the huge drop in turnover, turnover overall remains significant at above 20%.
However, DFPS is tracking turnover closely, striving to make a positive work culture a priority,
and working toward moving from merit raises every two or three years to every year.
Contact: Kristene Blackstone, Associate Commissioner, Texas Department of Familiy and
Protective Services, Kristene.Blackstone@dfps.state.tx.us>




                                               39
